                              Case 23-90064-MM          Filed 02/23/24    Entered 02/23/24 09:11:38     Doc 20   Pg. 1 of 3




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                              6   Attorneys for Leslie T. Gladstone, Chapter 7 Trustee
                              7                               UNITED STATES BANKRUPTCY COURT
                              8
                                                              SOUTHERN DISTRICT OF CALIFORNIA
                              9
                                  In re:                                            Case No.: 23-01962-MM7
                             10
                                  SAMUEL KELSALL V,                                 Adv. No.: 23-90064-MM
                             11

                             12                  Debtor.                            TRUSTEE’S STATUS REPORT
La Jolla, California 92037




                             13                                                     Date:        February 27, 2024
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                                  WILLIAM J. FREED, APC, aka                        Time:        10:00 a.m.
                             14   WILLIAM J. FREED,                                 Dept:        One (1)
                                                                                    Honorable Margaret M. Mann
                             15
                                                 Plaintiff,
                             16
                                  v.
                             17
                                  SAMUEL KELSALL, V,
                             18

                             19                  Defendant.

                             20
                                  SAMUEL KELSALL, V,
                             21
                                                 Cross-Complainant,
                             22

                             23   v.

                             24   WILLIAM J. FREED, an individual;
                                  WILLIAM J. FREED, APC dba Walwick &
                             25   Freed, and DOES 1 through 10, inclusive,
                             26
                                                 Cross-Defendants.
                             27

                             28   ///

                                  IN RE KELSALL, CASE NO. 23-01962-MM7                     1          TRUSTEE’S STATUS REPORT
                                  WILLIAM J. FREED, APC V. KELSALL, ADV. NO. 23-90064-MM
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                              1          LESLIE T. GLADSTONE, chapter 7 trustee (the “Trustee”) of the bankruptcy estate in

                              2   the case of Samuel Kelsall, V (“Kelsall”), submits this Status Report to inform the Court

                              3   regarding the estate’s interest in the Cross-Claim in this Adversary Proceeding.

                              4          On October 10, 2023, plaintiff William J. Freed, APC aka William J. Freed

                              5   (collectively, “Freed”) commenced this Adversary Proceeding by filing a Complaint against

                              6   Kelsall for denial of discharge under 11 U.S.C. Sections 727(a)(3) and (a)(4). (ECF No. 1)

                              7          On November 10, 2023, after filing his Answer, Kelsall filed a Cross-Complaint against

                              8   Freed and Doe defendants for fraud, intentional misrepresentation, negligent misrepresentation,

                              9   concealment, unlawful and unfair business practices, breach of covenant of good faith and fair

                             10   dealing, and interference with prospective economic advantage (the “Cross-Complaint”).

                             11   (ECF No. 5–1) Pursuant to Bankruptcy Code section 541(a), all the causes of action alleged in

                             12   the Cross-Complaint are property of the bankruptcy estate.
La Jolla, California 92037




                             13          Plaintiff Freed filed a motion to dismiss the Cross-Complaint on the basis that Kelsall
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                             14   lacked standing to prosecute the Cross-Complaint. (ECF No. 8). Kelsall filed a motion to stay

                             15   the Cross-Complaint pending a decision by the Trustee regarding whether to prosecute or

                             16   abandon the Cross-Complaint. (ECF No. 9) Both motions are scheduled for continued hearing

                             17   on February 27, 2024.

                             18          The Trustee, through counsel, has reviewed the Cross-Complaint and alleged

                             19   supporting evidence and conducted an independent investigation regarding the factual

                             20   background. Kelsall claims an exemption in the Cross-Complaint in the amount of $24,950.00.

                             21   (ECF No. 1, Sched. C). In reliance on this exemption, the Trustee determined that the Cross-

                             22   Complaint is of inconsequential value to the estate. The Trustee intends to abandon the Cross-

                             23   Complaint without delay. Any change in this exemption will prejudice the estate.

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                                  IN RE KELSALL, CASE NO. 23-01962-MM7                     2             TRUSTEE’S STATUS REPORT
                                  WILLIAM J. FREED, APC V. KELSALL, ADV. NO. 23-90064-MM
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                              1          The Trustee hopes that this Status Report assists the Court and parties with respect to

                              2   the pending motions and progress of the Adversary Proceeding.

                              3   Dated: February 23, 2024                     FINANCIAL LAW GROUP
                              4

                              5                                                By:     /s/ Christin A. Batt
                                                                                     Christin A. Batt, Esq.
                              6                                                      Attorneys for Leslie T. Gladstone, Trustee
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                                  IN RE KELSALL, CASE NO. 23-01962-MM7                      3            TRUSTEE’S STATUS REPORT
                                  WILLIAM J. FREED, APC V. KELSALL, ADV. NO. 23-90064-MM
